        Case 1:18-cv-07720-JPC-DCF Document 20 Filed 10/15/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 10/15/2020
                                                                       :
WALTER GRANT,                                                          :
                                                                       :
                                    Petitioner,                        :
                                                                       :     18-CV-7720 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
PAUL M. GONYEA,                                                        :     REASSIGNMENT
                                                                       :
                                    Respondent.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All parties must familiarize themselves

with the Court’s Individual Rules, including the Individual Rules and Practices for Pro Se

Litigants, which are available at https://www.nysd.uscourts.gov/hon-john-p-cronan. Unless

and until the Court orders otherwise, all prior orders, dates, and deadlines shall remain in effect

notwithstanding the case’s reassignment. Any currently scheduled conference or oral argument

before this Court is adjourned pending further order of this Court, but any conference or oral

argument before the Magistrate Judge will proceed as ordered.

        The Clerk of the Court is respectfully directed to mail a copy of this Order to Petitioner.

        SO ORDERED.

Dated: October 15, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
